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    7
                            UNITED STATES DISTRICT COURT
    8
                          CENTRAL DISTRICT OF CALIFORNIA
    9
   10
      MARIA TERESA ABREGO,                           CASE NO. CV15-00039 BRO (JEMx)
   11 individually and as Successor-in-Interest      Hon. Beverly Reid O’Connell- Ctrm. 14, Spring St.
      of Decedent Omar Abrego, OMAR JESUS            Hon. Mag. John E. McDermott - Ctrm. C, 8th Fl.
   12 ABERGO, a minor, individually and as
      Successor-in-Interest of Decedent Omar
   13 Abrego, NATHAN ANTHONY ABREGO,                 JOINT NOTICE OF SETTLEMENT
      a minor, individually and as Successor-in-     AND STIPULATION OF
   14 Interest of Decedent Omar Abrego,              DISMISSAL
      CHASITY ABREGO, a minor, individually
   15 and as Successor-in-Interest of Decedent
      Omar Abrego                                    [Filed concurrently with [Proposed]
   16                    Plaintiffs,                 Order]
   17 v.
   18 CITY OF LOS ANGELES, et al.
   19                     Defendants.
   20
   21
        TO THE ABOVE-ENTITLED COURT:
   22
              Please take notice that Plaintiffs MARIA TERESA ABREGO, et al., and their
   23
        attorneys, Boris Treyzon and Fred Sayre, have settled this matter with Defendants
   24
        CITY OF LOS ANGELES, et al., as it relates to the verdict and Abir Cohen
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        Treyzon Salo, LLP’s attorney’s fees. The settlement is subject to the approval
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        process of the Los Angeles City Council (which generally takes approximately
   27 twelve to fourteen weeks to complete), and upon such approval, the settlement
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    1 amount shall be disbursed in accordance with the amounts and terms set forth in the
    2 settlement agreement between the parties in this matter.
    3        Thus, the parties hereby stipulate that no judgment be entered in this matter
    4 and that pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, this
    5 matter shall be dismissed in its entirety with prejudice. This dismissal does not
    6 constitute an adjudication on the merits. This settlement and dismissal have no
      effect on the verdict as it relates to the matter of Lilia Abrego Figueroa v. City of
    7
      Los Angeles, et al., CV15-01472 BRO (JEMx).
    8
             The parties further stipulate that this settlement does not bar Plaintiffs’
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      attorney of record, Steven Lehrman, from filing a motion concerning his request for
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      attorney’s fees or from filing a bill of costs in connection with the verdict in this
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      matter. Any motion for attorney’s fees filed by Mr. Lehrman shall be within 14
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      days (or by another date determined by the Court) of the Court’s order on this issue.
   13
      Defendants shall file their opposition to Mr. Lehrman’s motion for attorney’s fees
   14 within 14 days thereafter.
   15        IT IS SO STIPULATED.
   16
   17 Dated: May 1, 2017        TREYZON & ASSOCIATES
   18
                                By _/s/ Boris Treyzon______________________
   19                                 FREDERICO SAYRE, Esq.
   20                                 BORIS TREYZON, Esq.
                                Attorney for Plaintiffs MARIA TERESA ABREGO, et
   21                           al.
   22
   23 Dated: May 1, 2017        MICHAEL N. FEUER, City Attorney
   24                           THOMAS H. PETERS, Chief Assistant City Attorney
                                CORY M. BRENTE, Assistant City Attorney
   25
   26                           By: __/s/ Colleen R. Smith_______________________
   27                               COLLEEN R. SMITH, Deputy City Attorney
                               Attorneys for Defendant CITY OF LOS ANGELES, et al.
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